           Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 1 of 19



 1    LABATON SUCHAROW LLP
      Jonathan Gardner (admitted pro hac vice)
 2    Alfred L. Fatale III (admitted pro hac vice)
 3    Joseph N. Cotilletta (admitted pro hac vice)
      Beth C. Khinchuk (admitted pro hac vice)
 4    140 Broadway
      New York, New York 10005
 5    Telephone: (212) 907-0700
      Facsimile: (212) 818-0477
 6    Email: jgardner@labaton.com
 7           afatale@labaton.com
             jcotilletta@labaton.com
 8           bkhinchuk@labaton.com

 9    Lead Counsel for Plaintiff and the Class
10

11                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12                                  SAN FRANCISCO DIVISION

13
   BOSTON RETIREMENT SYSTEM,                            Case No. 3:19-cv-06361-RS
14 Individually and on behalf of all others similarly
   situated,                                            LEAD PLAINTIFF’S NOTICE OF
15                                                      MOTION TO COMPEL
                                 Plaintiff,             PRODUCTION OF DOCUMENTS;
16                                                      MEMORANDUM OF POINTS AND
           vs.                                          AUTHORITIES IN SUPPORT THEREOF
17
   UBER TECHNOLOGIES, INC., et. al.,                    Date: December 14, 2023
18                                                      Time: 1:00 pm
                                 Defendants.            Place: 4, 3rd Floor
19                                                      Judge: Hon. Donna M. Ryu

20

21

22

23

24

25

26

27

28
     LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS
     CASE NO. 3:19-CV-06361-RS
             Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 2 of 19



1                                                         TABLE OF CONTENTS
2                                                                                                                                                   Page
3 TABLE OF AUTHORITIES ......................................................................................................... ii, iii

4
     NOTICE OF MOTION AND MOTION ............................................................................................ iv
5
     STATEMENT OF ISSUES ................................................................................................................ iv
6
     I.        PRELIMINARY STATEMENT.............................................................................................. 1
7
     II.       FACTUAL BACKGROUND .................................................................................................. 1
8
     III.      APPLICABLE LEGAL STANDARDS .................................................................................. 2
9
     IV.       ARGUMENT ........................................................................................................................... 3
10
               A.        Documents in PwC’s Possession Are Not Protected by the Work Product
11
                         Doctrine ........................................................................................................................ 3
12
               B.        Ordinary Course of Business Documents and Blanket Redactions Are Not
13                       Protected by the Work Product Doctrine ..................................................................... 3

14             C.        The Documents are Not Protected Work Product ........................................................ 4
15                       1.         PwC’s Impairment Assessments are Not Protected Work Product ................. 5
16                       2.         The Emails are Not Protected Work Product ................................................... 6
17
                         3.         PwC’s Forensic Memoranda are Not Protected Work Product ....................... 6
18
                         4.         PwC’s Management Representation Letters are Not Protected ....................... 8
19
               D.        PwC’s Documents Must be Produced Even if They are Work Product ...................... 9
20
               E.        Alternatively, the Court Should Review the Documents In Camera ........................... 9
21
     V.        CONCLUSION ...................................................................................................................... 10
22

23

24

25

26

27

28
      LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                                                                         i
      CASE NO. 3:19-CV-06361-RS
               Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 3 of 19



 1                                                     TABLE OF AUTHORITIES
 2                                                                                                                                     Page(s)
 3 Cases

 4
   Carlson v. U. S. Postal Serv.,
 5    2017 WL 3581136 (N.D. Cal. Aug. 18, 2017).......................................................................... 9

 6 Castaneda v. Burger King Corp.,
       259 F.R.D. 194 (N.D. Cal. 2009) .............................................................................................. 2
 7
   In re Diasonics Sec. Litig.,
 8     1986 WL 53402 (N.D. Cal. June 15, 1986) .............................................................................. 3
 9 Dolby Lab'ys Licensing Corp. v. Adobe Inc.,

10    402 F. Supp. 3d 855 (N.D. Cal. 2019) .................................................................................... 10

11 In re JDS Uniphase Corp. Sec. Litig.,
       2006 WL 2850049 (N.D. Cal. Oct. 5, 2006) ..................................................................... 3, 5, 8
12
   In re NVIDIA GPU Litig.,
13     2009 WL 4573311 (N.D. Cal. Nov. 30, 2009).......................................................................... 3
14 Phoenix Techs. Ltd. v. VMware, Inc.,

15    195 F. Supp. 3d 1096 (N.D. Cal. 2016) .................................................................................... 2

16 Planned Parenthood Fed'n of Am., Inc. v. Ctr. for Med. Progress,
      2019 WL 1589974 (N.D. Cal. Apr. 11, 2019) .......................................................................... 9
17
   Polycast Tech. Corp. v. Uniroyal, Inc.,
18    1990 WL 138968 (S.D.N.Y. Sept. 20, 1990) ............................................................................ 5
19 Tennison v. City & Cnty. of San Francisco,
      226 F.R.D. 615 (N.D. Cal. 2005) ............................................................................................ 10
20

21 U.S. v. Arthur Young & Co.,
      465 U.S. 805 (1984) .................................................................................................................. 3
22
   U.S. v. Burga,
23    2019 WL 3859157 (N.D. Cal. Aug. 16, 2019)........................................................................ 10
24 U.S. v. Graham,
      555 F. Supp. 2d 1046 (N.D. Cal. 2008) .................................................................................... 8
25
   VLSI Tech. LLC v. Intel Corp.,
26
      2019 WL 13253478 (N.D. Cal. Jan. 18, 2019) ................................................................. 4, 5, 8
27
   Walker v. Cnty. of Contra Costa,
28    227 F.R.D. 529 (N.D. Cal. 2005) .......................................................................................... 7, 9
   LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                                                         ii
   CASE NO. 3:19-CV-06361-RS
              Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 4 of 19



1 Whitecryption Corp. v. Arxan Techs., Inc.,
     2016 WL 7852471 (N.D. Cal. Mar. 9, 2016) ..................................................................... 4, 6 7
2
  Other Authorities
3

4 Fed. R. Civ. P. 26(b)(3) .......................................................................................................... passim

5 Fed. R. Civ. P. 37(a)........................................................................................................................ 1

6 Fed. R. Civ. P. 37(a)(3)(B).............................................................................................................. 2

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
      LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                                                                iii
      CASE NO. 3:19-CV-06361-RS
           Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 5 of 19



 1                                NOTICE OF MOTION AND MOTION
 2          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE THAT on December 14, 2023, at 1:00 p.m., or as soon thereafter

 4 as the matter may be heard, in the courtroom of the Honorable Donna M. Ryu, United States

 5 Magistrate Judge, located at 1301 Clay Street, Courtroom 4, 3rd Floor, Oakland, California 94102,

 6 Lead Plaintiff Boston Retirement System (“Lead Plaintiff”) and all other Court-appointed class

 7 representatives, will and hereby do move this Court for the entry of an Order to compel the production

 8 of 28 specified redacted documents produced by non-party PricewaterhouseCoopers, which

 9 Defendant Uber Technologies, Inc. solely asserts privilege over, or in the alternative, to order an in

10 camera inspection of the documents.

11          This motion is made pursuant to Fed. R. Civ. P. 37(a) and Civil L.R. 37, and is based upon

12 this Notice of Motion, the Memorandum of Points and Authorities in support thereof, the Declaration

13 of Alfred L. Fatale III in support thereof, and all papers, pleadings, documents, arguments of counsel,

14 and other materials presented before or during the hearing on this motion, and any other evidence and

15 argument the Court may consider.

16                                      STATEMENT OF ISSUES
17          1.      Whether Uber has failed to meet its burden to demonstrate that work-product

18          protection applies to the 28 redacted PwC documents at issue?

19          2.      Whether the documents at issue should be produced in full without redactions?

20          3.      Whether, in the event the Court does not order that the documents at issue be produced

21          without redaction, the Court should order an in camera inspection of those documents?

22

23

24

25

26

27

28
     LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                        iv
     CASE NO. 3:19-CV-06361-RS
           Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 6 of 19



 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2          Lead Plaintiff, Boston Retirement System, pursuant to Fed. R. Civ. P. 37(a) and Civil L.R.
 3 37, respectfully submits this Memorandum of Points and Authorities in Support of Lead Plaintiff’s

 4 Motion to Compel Production of Documents (the “Motion”), requesting that this Court compel the

 5 full production of 28 redacted documents (the “Documents”) produced by non-party

 6 PricewaterhouseCoopers (“PwC”) or, in the alternative, to order an in camera inspection of the

 7 Documents. This Motion is made pursuant to the Court’s September 26, 2023 Order (ECF No. 344)

 8 and based upon the Notice of Motion, Memorandum of Points and Authorities, Fatale Declaration

 9 (“Fatale Decl.”) and attached Exhibits, Lead Plaintiff’s Civil Local Rule 37-2 Statement, [Proposed]

10 Order submitted herewith, pleadings and evidence contained in the underlying record, and any other

11 information submitted before or during the hearing on this matter.

12 I.       PRELIMINARY STATEMENT
13          Uber Techonologies, Inc. (“Uber”) and PwC’s games must come to an end. After Uber’s series
14 of never-ending amendments and revisions to the privilege logs pertaining to PwC’s documents (the

15 “Log”), including changing every Log entry from attorney-client privilege to work-product

16 protection, PwC should be ordered to produce in full 28 redacted Documents which Uber has

17 improperly asserted privilege over because the information withheld is not protected work product. It

18 is clear from a close inspection of the Documents, that they consist of PwC’s (1) impairment

19 assessments, (2) forensic memoranda, (3) emails, and (4) management representation letters, all of

20 which are documents generated in the ordinary course of business. Moreover, Uber should not be

21 afforded work-product protection over these Documents where there are blanket redactions with no

22 context. Alternatively, Lead Plaintiff has established a good-faith basis to warrant in camera review.

23 II.      FACTUAL BACKGROUND
24          Uber has asserted privilege over the Documents produced by non-party PwC in this action.
25 Fatale Decl. at ¶ 37; see Ex. II. Specifically, in September 2023, PwC’s attorneys stated: “

26

27                                                      ” Id. On November 21, 2022, Lead Plaintiff sent
28 a letter to Uber challenging its privilege assertions as to the Documents in the possession, custody,
    LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS
    CASE NO. 3:19-CV-06361-RS
           Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 7 of 19



 1 and control of PwC. Fatale Decl. at ¶ 39. In response, and after several rounds of meet-and-confers,

 2 Uber finally provided an amended Log on December 23, 2022. Id.; Ex. DD. Between December 2022

 3 and August 22, 2023, the parties exchanged numerous correspondence and Uber amended the Log

 4 four more times, with the most recent being just two months ago, after the parties submitted a letter

 5 brief on disputes pertaining to the Log. Fatale Decl. at ¶ 40; see Exs. DD – HH. Based on Lead

 6 Plaintiff’s challenges, the Log shrunk from 432 entries to 114. Fatale Decl. at ¶ 42; compare Exs. CC

 7 with HH. Notably, Uber initially asserted attorney-client privilege as to each document on the Log,

 8 but now asserts that each document on the Log is actually protected work product. Fatale Decl. at ¶

 9 43; compare Exs. CC with DD. Lead Plaintiff objected to this contradictory change in the Log and

10 the parties reached an impasse. Fatale Decl. at ¶ 44. The parties submitted this Log dispute to the

11 Court in the form of a joint discovery letter on September 8, 2023. Id.; ECF No. 326. On September

12 26, 2023, the Court granted leave to file the instant motion. Fatale Decl. at 45; ECF No. 344 at 1.

13 III.     APPLICABLE LEGAL STANDARDS
14          Per Fed. R. Civ. P. 37(a)(3)(B), a “party seeking discovery may move for an order
15 compelling…production … [if] a party … fails to permit inspection – as requested under Rule 34.”

16 When the matter concerns whether work-product protection applies to bar discovery, the burden

17 applies to the party asserting the work-product protection to show that it applies. Phoenix Techs. Ltd.

18 v. VMware, Inc., 195 F. Supp. 3d 1096, 1102 (N.D. Cal. 2016). In order for work-product protection

19 to apply, Uber must show that “documents and tangible things [] are prepared in anticipation of

20 litigation or for trial by or for another party or its representative” because the documents contain

21 “mental impressions, conclusions, opinions, or legal theories of a party’s attorney” that were

22 “prepared in anticipation of litigation or for trial.” Fed. R. Civ. P. 26(b)(3). Motions to compel

23 production of documents should be granted when defendants fail to provide adequate bases for their

24 work-product protection assertions. See Castaneda v. Burger King Corp., 259 F.R.D. 194, 195 (N.D.

25 Cal. 2009) (granting motion to compel production of documents). Thus, the Documents should be

26 produced in full.

27

28
     LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                           2
     CASE NO. 3:19-CV-06361-RS
           Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 8 of 19



 1 IV.       ARGUMENT
 2           A.      Documents in PwC’s Possession Are Not Protected by the Work Product
 3                   Doctrine
 4           The Documents are in the possession, custody and control of Uber’s public
 5 accountant/auditor, PwC, and are not protected work product. See U.S. v. Arthur Young & Co., 465

 6 U.S. 805, 817-18 (1984) (“to insulate from disclosure ... interpretations of the client’s financial

 7 statements would be to ignore the significance of the accountant’s role as a disinterested analyst

 8 charged with public obligations.”); In re Diasonics Sec. Litig., 1986 WL 53402, at *1 (N.D. Cal. June

 9 15, 1986) (“no work product protection … [because] documents were generated [by auditor] for the

10 business purpose of creating financial statements which would satisfy the requirements of the federal

11 securities laws and not to assist in litigation.”). The Documents establish that PwC served in a public

12 accountant role to Uber, and not as a consult to Uber in this case. See id. (“it appears that [PwC] was

13 acting as a public accountant rather than as a consultant in this case[,]” and thus, “the work product

14 protection is inapplicable”); see e.g., Ex. A at PwC_00005731 (purpose of PwC’s Impairment

15 Assessment Letters was to “                                                         ” and not created in
16 anticipation of litigation). Thus, the Documents should be produced in full.

17           B.      Ordinary Course of Business Documents and Blanket Redactions Are Not
18                   Protected by the Work Product Doctrine
19           While work-product protection protects “mental impressions, conclusions, opinions, or legal
20 theories of a party’s attorney” that were “prepared in anticipation of litigation or for trial,” it does not

21 protect “[m]aterials [prepared] in the ordinary course of business.” Fed. R. Civ. P. 26(b)(3); see In re

22 NVIDIA GPU Litig., 2009 WL 4573311, at *2 (N.D. Cal. Nov. 30, 2009) (holding that documents are

23 subject to work-product protection if they “would not have been created … but for the prospect of

24 that litigation.”). To the extent that a document is argued to have encompassed both materials prepared

25 in the ordinary course of business and materials prepared in anticipation of litigation, the Ninth Circuit

26 has adopted the “because of” litigation standard for determining whether these “dual purpose”

27 documents are protected by the work-product doctrine. See In re JDS Uniphase Corp. Sec. Litig.,

28 2006 WL 2850049, at *2 (N.D. Cal. Oct. 5, 2006). The “because of” litigation test “states that a
    LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                   3
    CASE NO. 3:19-CV-06361-RS
           Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 9 of 19



 1 document should be deemed prepared ‘in anticipation of litigation’ and thus eligible for work product

 2 protection under Rule 26(b)(3) if ‘in light of the nature of the document and the factual situation in

 3 the particular case the document can fairly be said to have been prepared or obtained because of the

 4 prospect of litigation.’” (citing In re Grand Jury Subpoena, 357 F.3d 900, 907 (9th Cir. 2004)). This

 5 test “affords protection when it can fairly be said that the ‘document was created because of

 6 anticipated litigation, and would not have been created in substantially similar form but for the

 7 prospect of that litigation.’” Id. at 908 (emphasis added). Even if (as Uber has argued) information

 8 provided to PwC contains litigation outcomes or theories about those outcomes, the information is

 9 not protected because “a document [containing] concocted theories about the results of possible

10 litigation, but which was not designed to prepare a specific case for trial or negotiation,” is not

11 protected. VLSI Tech. LLC v. Intel Corp., 2019 WL 13253478, at *4 (N.D. Cal. Jan. 18, 2019)

12 (internal quotations omitted) (holding that “a letter from a [party’s] counsel to a third-party accounting

13 firm, giving the attorney’s assessment of the financial risk to the company posed by pending

14 litigation[,]” is not protected work product because it gives “a general assessment of the likely

15 outcome of a case and what financial impact the case may have on [a] client”). For this reason too,

16 the Documents should be produced in full.

17          Uber also has applied blanket redactions with little to no context when unredacted portions of
18 the documents suggest that the redaction portion is mere fact. See Whitecryption Corp. v. Arxan

19 Techs., Inc., 2016 WL 7852471, at *2 (N.D. Cal. Mar. 9, 2016) (holding that blanket redactions are

20 inappropriate because “[i]t is the parties’ responsibility to evaluate their exhibits and, only if it is

21 necessary, to redact them in the narrowest way possible to preserve their confidential information

22 while protecting the general right of the public to access court records.”). Given Uber’s blanket

23 redactions, the Documents should be produced in full.

24          C.      The Documents are Not Protected Work Product
25          Uber seeks to preclude production of the Documents not subject to work-product protection.
26 The Documents consist of: (1) Impairment Assessments; (2) Forensic Memoranda; (3) Emails; and

27 (4) Management Representation Letters. The Documents are not protected because they: (a) contain

28 merely fact; (b) created by primarily non-attorneys; and/or (c) otherwise provide little to no context.
   LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                           4
   CASE NO. 3:19-CV-06361-RS
Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 10 of 19
Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 11 of 19
Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 12 of 19
           Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 13 of 19



 1 redactions with no context, not created in anticipation of litigation, and must be produced.

 2                 4.      PwC’s Management Representation Letters are Not Protected
 3          Uber improperly redacts several “Management Representation” letters (“MRLs”) on the basis
 4 that most of these documents are “[c]onfidential document[s] prepared in anticipation of litigation by

 5 in-house counsel.” However, the MRLs are non-attorney communications pertaining to PwC’s audit

 6 of Uber’s financials. See Exs. P (Ex. HH at Log No. 893.1), Q (Log No. 895) (same as Ex. P, except

 7 dated                 and contains some additional language), R (Log No. 896) (same as Ex. Q, except
 8 dated                 ), S (Log No. 904.1) (same as Ex. Q, except                       ), T (Log No.
 9 916) (same as Ex. Q, except dated                    ), U (Log No. 933) (same as Ex. Q, except dated
10 April 3, 2019), I (Log No. 14305) (same as Ex. Q, except dated                   ), J (Log No. 14306)
11 (same as Ex. Q, except dated                   ), K (Log No. 14307) (same as Ex. Q, except dated
12           ), L (Log No. 14308) (same as Ex. Q, except dated                     ), M (Log No. 14309)
13 (same as Ex. Q, except dated                     ), N (Log No. 14310) (same as Ex. Q, except dated
14                      ), O (Log No. 14311) (same as Ex. Q, except dated                  ), and H (Log
15 No. 1061); see also U.S. v. Graham, 555 F. Supp. 2d 1046, 1050 (N.D. Cal. 2008) (holding that work-

16 product protection does not exist for a document prepared for non-party).

17          For example, Exhibit P (Log No. 893.1) states that the MRL provides “                 ” that has
18 “                            ” relating to “                      ,” which is redacted “
19

20

21                                                           .” (Emphasis added). These documents were
22 not prepared in anticipation of litigation. See JDS Uniphase, 2006 WL 2850049, at *2; VLSI Tech.,

23 2019 WL 13253478, at *4. Uber’s management’s (CEO, CFO, and CAO) “

24

25                                    ” is redacted. Ex. P at PwC_00011901. These individuals are not
26 attorneys and thus no attorney mental impression or opinions are being conveyed. See Fed. R. Civ. P.

27 26(b)(3).

28
     LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                           8
     CASE NO. 3:19-CV-06361-RS
          Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 14 of 19



 1          Further,
 2

 3

 4

 5

 6

 7

 8

 9                                                                       . See Due Diligence in Securities
10 Offerings, Corey R. Chivers, Law Journal Press, 2015 at 91 § 5:01(6) (bringdown due diligence is

11 required immediately prior to closing). Based on this limited evidence, PwC should produce Exhibits

12 H – U because they do not contain work product.

13          D.      PwC’s Documents Must be Produced Even if They are Work Product
14          Even if the Documents were protected, the Documents should still be produced “upon an
15 adverse party’s demonstration of substantial need or inability to obtain the equivalent without undue

16 hardship.” Carlson v. U. S. Postal Serv., 2017 WL 3581136, at *19 (N.D. Cal. Aug. 18, 2017) (citation

17 omitted); see Walker, 227 F.R.D. 529 at 536 (“Work product protection, unlike attorney client

18 privilege, is not absolute and can be overcome by a showing of substantial need and inability to obtain

19 the equivalent of the materials through other means.”). The Documents are central to Lead Plaintiff’s

20 theory of Uber’s business model because they may show the state of Uber’s business operations

21 before and after the IPO and how it was not a “New Day at Uber.” Until now, Uber has cloaked this

22 information in privilege and protection, even though Judge Seeborg has allowed the theory to proceed.

23          E.      Alternatively, the Court Should Review the Documents In Camera
24          Alternatively, this Court can perform an in camera inspection of the Documents. To obtain
25 such relief, a “party challenging an assertion of privilege must ‘show a factual basis sufficient to

26 support a reasonable, good faith belief that in camera inspection may reveal evidence that information

27 in the materials is not privileged’ … this burden [i]s ‘minimal.’” Planned Parenthood Fed'n of Am.,

28 Inc. v. Ctr. for Med. Progress, 2019 WL 1589974, at *2 (N.D. Cal. Apr. 11, 2019); see also Dolby
    LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                    9
    CASE NO. 3:19-CV-06361-RS
          Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 15 of 19



 1 Lab'ys Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855, 861 (N.D. Cal. 2019) (sample of 15

 2 documents reviewed). Lead Plaintiff has met that minimal burden here. See U.S. v. Burga, 2019 WL

 3 3859157, at *4-5, *7 (N.D. Cal. Aug. 16, 2019) (holding that in camera review was appropriate based

 4 on the possibility that a non-party created a document at direction of party’s lawyers in anticipation

 5 of litigation).

 6          Through five amendments to the Log, Uber has made several significant and objectionable
 7 changes. Most notably, Uber changed every privilege designation in the Log from “attorney-client”

 8 to “work product.” Compare Ex. CC with Ex. DD; see Tennison v. City & Cnty. of San Francisco,

 9 226 F.R.D. 615, 621 (N.D. Cal. 2005) (“courts have repeatedly held that the two privileges are

10 distinct”). The “Privilege Description” for the Documents on the Log also changed drastically with

11 each Log amendment. Compare Ex. CC at Log No. 940 ( “

12

13                             ”) with Ex. GG at Log No. 940 (“
14

15

16                                            ”) (emphasis added).
17          It is clear that Uber is an experienced player in this game it created. Uber has a well-
18 documented history of making privilege designation changes. In X One, Inc. v. Uber Techs., Inc.,

19 PwC, at Uber’s direction, made significant late changes to its privilege log, resulting in in camera

20 review of the documents in question. 2019 WL 2513688, at *1 (N.D. Cal. June 18, 2019) (“Uber’s

21 late-change to its privilege log … provides sufficient grounds for in camera review of the emails from

22 which Uber has” switched privilege bases). Based on this conduct, as well as the circumstantial

23 evidence provided above and importance of the Documents in proving Lead Plaintiff’s claims

24 regarding Uber’s business model, this Court should alternatively order in camera review.

25 V.       CONCLUSION
26          For the foregoing reasons, Lead Plaintiff respectfully requests that the Court issue an order to
27 compel the production of the Documents from the Log, or in the alternative, to order an in camera

28 inspection of the Documents.
    LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                                           10
    CASE NO. 3:19-CV-06361-RS
        Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 16 of 19



1

2 Dated: October 10, 2023          Respectfully Submitted,
3
                                   LABATON SUCHAROW LLP
4
                                   By: /s/ Alfred L. Fatale III
5
                                       Jonathan Gardner (admitted pro hac vice)
6                                      Alfred L. Fatale III (admitted pro hac vice)
                                       Joseph N. Cotilletta (admitted pro hac vice)
7
                                       Beth C. Khinchuk (admitted pro hac vice)
8                                      140 Broadway
                                       New York, NY 10005
9                                      Telephone: 212 907 0700
                                       Fax: 212 818 0477
10                                     Email: jgardner@labaton.com
                                              afatale@labaton.com
11                                            jcotilletta@labaton.com
                                              bkhinchuk@labaton.com
12
                                       Lead Counsel for Lead Plaintiff and the Class
13

14                                     LEVI & KORSINSKY, LLP
15                                     Gregory M. Nespole (admitted pro hac vice)
                                       Daniel Tepper (admitted pro hac vice)
16                                     Correy A. Suk (admitted pro hac vice)
                                       55 Broadway, Suite 427
17                                     New York, NY 10006
                                       Telephone: (212) 363-7500
18
                                       Facsimile: (212) 363-7171
19                                     Email: gnespole@zlk.com
                                              dtepper@zlk.com
20                                            ckamin@zlk.com

21                                     LEVI & KORSINSKY, LLP
                                       Adam M. Apton
22                                     75 Broadway, Suite 200
23                                     San Francisco, CA 94111
                                       Telephone: (415) 373-1671
24                                     Facsimile: (415) 484-1294
                                       Email: aapton@zlk.com
25
                                       Liaison Counsel for Lead Plaintiff Boston Retirement
26                                     System
27
                                          SCOTT+SCOTT ATTORNEYS AT LAW LLP
28                                        John T. Jasnoch
     LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                         11
     CASE NO. 3:19-CV-06361-RS
        Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 17 of 19



1                                        600 West Broadway, Suite 3300
                                         San Diego, CA 92101
2                                        Telephone: (619) 233-4565
3                                        Facsimile: (619) 233-0508
                                         Email: jjasnoch@scott-scott.com
4
                                         SCOTT+SCOTT ATTORNEYS AT LAW LLP
5                                        David R. Scott
                                         156 South Main Street
6                                        P.O. Box 192
7                                        Colchester, CT 06415
                                         Telephone: (860) 537-5537
8                                        Facsimile: (860) 537-4432
                                         Email: david.scott@scott-scott.com
9
                                         SCOTT+SCOTT ATTORNEYS AT LAW LLP
10
                                         William C. Fredericks
11                                       The Helmsley Building
                                         230 Park Avenue, 17th Floor
12                                       New York, NY 10169
                                         Telephone: (212) 233-6444
13                                       Facsimile: (212) 233-6334
                                         Email: wfredericks@scott-scott.com
14

15                                       ROBBINS GELLER RUDMAN & DOWD LLP
                                         James I. Jaconette
16                                       Sara B. Polychron
                                         655 West Broadway, Suite 1900
17                                       San Diego, CA 92101
                                         Telephone: (619) 231-1058
18
                                         Facsimile: (619) 231-7423
19                                       Email: jamesj@rgrdlaw.com
                                               spolychron@rgrdlaw.com
20
                                         ROBBINS GELLER RUDMAN & DOWD LLP
21                                       Samuel H. Rudman
22                                       58 South Service Road, Suite 200
                                         Melville, NY 11747
23                                       Telephone: (631) 367-7100
                                         Facsimile: (631) 367-1173
24                                       Email: srudman@rgrdlaw.com
25                                        COTCHETT, PITRE & McCARTHY, LLP
26                                        Mark C. Molumphy
                                          Tyson Redenbarger
27                                        San Francisco Airport Office Center
                                          840 Malcolm Road, Suite 200
28                                        Burlingame, CA 94010
     LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                  12
     CASE NO. 3:19-CV-06361-RS
        Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 18 of 19



1                                        Telephone: (650) 697-6000
                                         Facsimile: (650) 697-0577
2                                        Email: mmolumphy@cpmlegal.com
3                                               tredenbarger@cpmlegal.com

4                                        Counsel for Class Representatives David Messinger,
                                         Ellie Marie Toronto ESA, and Irving S. and Judith
5                                        Braun

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     LEAD PLAINTIFF’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS                         13
     CASE NO. 3:19-CV-06361-RS
         Case 3:19-cv-06361-RS Document 363 Filed 10/11/23 Page 19 of 19



1                                    CERTIFICATE OF SERVICE
2          I, Joseph N. Cotilletta, certify that on October 10, 2023, the foregoing documents entitled

3 LEAD PLAINTIFF’S NOTICE OF MOTION TO COMPEL PRODUCTION OF

4 DOCUMENTS; MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT

5 THEREOF were filed electronically in the Court’s ECF; thereby upon completion the ECF system

6 automatically generated a “Notice of Electronic Filing” as service through CM/ECF to registered e-

7 mail addresses of parties of record in this case.

8

9
                                                                 /s/ Joseph N. Cotilletta
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     CERTIFICATE OF SERVICE
     CASE NO. 3:19-CV-06361-RS
